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 2 District of Nevada
   Nevada Bar No. 13644
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 7 Attorneys for Defendants

 8
                                 UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10

11   BAKER RANCHES, INC., a Nevada
     Corporation, DAVID JOHN ELDRIDGE               Case No. 3:21-cv-00150-GMN-WGC
12   AND RUTH ELDRIDGE, as Co-Trustees
     of the DAVID JOHN ELDRIDGE AND                 MOTION TO APPEAR,
13   RUTH ELDRIDGE FAMILY LIVING                    SUBSTITUTE AND WITHDRAW
     TRUST, dated January 31, 2007; ZANE            ATTORNEY OF RECORD and
14
     JORDAN; and JUDEE SCHALEY,                     ORDER
15
                   Plaintiffs,
16
           v.
17
     DEB HAALAND, in her official capacity as
18   Secretary of the United States Department of
     the Interior, the UNITED STATES
19   DEPARTMENT OF THE INTERIOR,
     SHAWN BENGE, in his official capacity as
20   Acting Director of the National Park
     Service, the NATIONAL PARK SERVICE,
21   and JAMES WOOLSEY, in his official
     capacity as Superintendent of the Great
22   Basin National Park,

23                 Defendants.
24

25         Defendants DEB HAALAND, in her official capacity as Secretary of the United

26 States Department of the Interior, the UNITED STATES DEPARTMENT OF THE

27 INTERIOR, SHAWN BENGE, in his official capacity as Acting Director of the National

28 Park Service, the NATIONAL PARK SERVICE, and JAMES WOOLSEY, in his official
          Case 3:21-cv-00150-GMN-WGC Document 44 Filed 12/02/21 Page 2 of 2




 1   capacity as Superintendent of the Great Basin National Park, seek to substitute Assistant
 2   United States Attorney Holly A. Vance as the counsel for Defendants in the place and stead
 3   of Assistant United States Attorney Greg Addington.
 4          Defendants respectfully request the Clerk of the Court to please note the withdrawal
 5   of Assistant United States Attorney Greg Addington, who is retiring and will no longer be
 6   with the United States Attorney’s Office, District of Nevada, and should be terminated from
 7   further notification from the Court’s CM/ECF system.
 8          Hereinafter, all parties to the above-referenced case should notify undersigned
 9   counsel of any action in this case.
10          Respectfully submitted this 1st day of December 2021.
11                                                CHRISTOPHER CHIOU
                                                  Assistant United States Attorney
12

13                                                 s/ Holly A. Vance
                                                  HOLLY A. VANCE
14                                                Assistant United States Attorney
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16          IT IS SO ORDERED.
17          DATED this 2nd day of December, 2021.
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                                               United States Magistrate Judge
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